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                                                           Honorable Ricardo S. Martinez
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 7
                                 UNITED STATES DISTRICT COURT
 8
                              WESTERN DISTRICT OF WASHINGTON
 9                                       AT SEATTLE
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11   LAVERA SKIN CARE NORTH AMERICA,            No. 2:13-cv-02311-RSM
     INC., a Washington corporation; and
12   VICTOR TANG, an individual,                DECLARATION OF DR. BJÖRN-AXEL
                                                DISSARS IN SUPPORT OF
13
                        Plaintiffs,             DEFENDANT’S MOTION TO DISMISS
14
             v.
15
     LAVERANA GMBH & CO. KG, a German
16   limited partnership,
17
                        Defendant.
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                                                                  LATHAM & WATKINS LLP
                                                               505 MONTGOMERY ST. STE. 2000
     DISSARS DECLARATION                                         SAN FRANCISCO, CA 94111
     NO. 2:13-CV-02311-RSM                                            (415) 391-0600
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                              DECLARATION OF DR. BJORN-AXEL DISSARS

 2           I, Dr. Bjorn-Axel Dissars, declare as follows:

 3           I.     The statements made herein are based on my personal knowledge, and if called

 4    upon to do so, I could and would testify competently thereto under oath. I have reviewed the

 5    Complaint in the above-captioned matter ("Complaint") and am familiar with the allegations

 6    contained therein. I make this declaration in support ofLaverana's Motion to Dismiss

 7   Plaintiffs' Complaint for Forum Non Conveniens and Lack of Personal Jurisdiction.

 8           A.     My Background And Qualifications

 9           2.     I am a German citizen, and I reside in Hamburg, Germany. In 1996, I earned my

I0    doctor juris degree from the University of Hamburg. While at the University of Hamburg, I

II   passed the First German State Examination in 1993. I passed the Second German State

12   Examination in 1996. I spent my legal internship/traineeship (Referendarzeit) in Hamburg,

13    Berlin, Toronto, and London.

14           3.     I was admitted to practice law in Germany in 1997. I am a member in good

15    standing of the Hamburg, Germany bar (Rechtsanwaltskammer), licensed to practice before all

16    German courts. Since 2004, I have been a partner in the law firm of Latham & Watkins LLP

17    ("Latham"), and I practice in the firm's Hamburg, Germany office. I am not admitted to

18   practice law in any state of the US.

19           4.     I have about 17 years of experience representing German and international

20    clients also in complex litigation and arbitration matters. Based on my education and

21    experience, I am very familiar with Germany's legal system, including the procedures for

22   resolving disputes and remedies available to litigants.

23           5.     Since September 20 II, I have represented Defendant Laverana GmbH & Co. KG

24    ("Laverana") in matters related to their business in Germany and otherwise arising under

25    German law. At the same time, I began advising Laverana regarding the distribution

26    agreements described in the Complaint (the "Distribution Agreements").

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              B.     Background Regarding the Present Dispute
 2            6.     PlaintiffLavera Skin Care North America, Inc. ("LSC") and Laverana have been

 3    engaged in discussions regarding LSC's alleged claims and LSC's failure to perform under the

 4    Distribution Agreements since 20 I 0 or 20 !!. The parties engaged in extensive negotiations to

 5    resolve disagreements regarding their respective rights and obligations under the Distribution

 6    Agreements. Correspondence regarding the parties' disagreements was predominantly in the

 7    German language. Exhibit I to this declaration contains true and correct copies of sample

 8    correspondence, in each case without appendices, including:

 9            (a)    e-mail letter from Laverana to LSC dated October 6, 20 II;

10            (b)    letter from Latham's Hamburg, German office, to LSC's former counsel Beiten

II    Burkhardt Rechtsanwaltsgesellschaft mbH ("Beiten Burkhardt") dated November I, 20 II;

12            (c)    letter from Latham's Hamburg, German office, to Beiten Burkhardt dated

13    November 8, 2011;

14            (d)    letter from Beiten Burkhardt to Latham's Hamburg office dated November 14,

15    2011;

16            (e)    letter from Beiten Burkhardt to Latham's Hamburg office dated November 24,

17    2011;

18            (f)    letter from LSC to Laverana dated January 12, 2012;

19            (g)   telefax from Latham's Hamburg, German office, to Beiten Burkhardt dated

20    January 12, 2012;

21            (h)    letter from Beiten Burkhardt to Latham's Hamburg office, dated January 13,

22    2012;

23            (i)    letter from Latham's Hamburg office, to Beiten Burkhardt dated March 19,

24    2012;

25            G)    letter from LSC to Laverana dated March !!, 20 !3;

26            (k)   letter from Stenger LLP to Laverana dated April II, 20 13;

27            (!)    letter from Latham's Hamburg office to Stenger LLP dated April30, 2013,
                                                                             LATHAM   & WATKINS LLP
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             (m)      letter from Stenger LLP to Latham's Hamburg office, dated May 29,2013, and

 2           (n)      telefax from Latham's Hamburg office, to Stenger LLP dated June 21,2013.

 3           7.       On March 27,2013, Laverana provided notice to LSC that it was terminating the

 4    Distribution Agreements based on LSC's performance failures. As a matter of precaution, and

 5    in light ofLSC's assertion that such termination was improper, Laverana (either itself or on its

 6   behalf by Latham's Hamburg office) sent additional notices of termination, dated April30,

 7   2013, June 21,2013, and January 17, 2014, based on the occurrence of further grounds to

 8   terminate the Distribution Agreements for good cause (aus wichtigem Grund).

 9           8.       Prior to the termination notice dated March 27, 2013, as reflected in Stenger

10    LLP's letters dated April II, 2013 and May 29,2013 and LSC's letter dated March II, 2013,

II   LSC and Laverana participated in mediation and settlement negotiations regarding claims under

12   the Distribution Agreements. The mediator was Dr. Andreas Hacke, a German citizen and

13    German-qualified attorney of the German law firm Zwanzig Hacke Meilke & Partner. The

14   mediation proceeding was terminated by LSC by its letter of March II, 2013.

15           9.       Plaintiff was represented by German counsel in connection with the discussions

16   regarding the Distribution Agreements described above. When I became involved in the matter,

17    Plaintiff was represented by Mr. Matthias Stecher of the German law firm Beiten Burkard!

18   based in Munich. Mr. Stecher was later replaced by Jana-Natascha Garisch, a Hamburg-based

19   attorney with the German law firm of Alpers & Stenger LLP, which subsequently became

20    Stenger LLP. I am informed and believe that neither Alpers & Stenger LLP nor Stenger LLP

21   nor Beiten Burkhardt has any offices in the United States.

22            10.     Following termination of the mediation, Ms. Garisch of Stenger LLP sent me a

23    letter on behalf of Plaintiff indicating that Plaintiff may soon file a lawsuit and asking whether I

24   would accept service of their lawsuit on behalf of Laverana. The letter was written in German.

25   A true and correct copy of the letter from Ms. Garisch of Stenger LLP to me, dated June 28,

26   2013, and an English translation of the letter, are attached hereto as Exhibits 2 and 3,

27    respectively.
                                                                                LATHAM & WATKINS LLP
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     D1SSARS DECLARA TJON                                3                      SAN FRANCISCO, CA 94111
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              II.        On July 16,2013, I responded to Ms. Garisch's letter dated June 28,2013 to

 2    indicate that I was authorized by Laverana to accept service ofLSC's complaint. Like Ms.

 3    Garisch's letter, my response was written in German. A true and correct copy ofthe July 16,

 4    2013 letter from me to Stenger LLP, and an English translation, are attached as Exhibits 4 and

 5    5, respectively.
 6            12.     As all proceedings up until that point had occurred in Germany, the Distribution

 7    Agreements designates Hanover, Germany as the place of jurisdiction, LSC's counsel only had

 8    offices in Germany, and my communications with Ms. Garisch regarding her firm's handling of

 9    the lawsuit ("our lawsuit''), it was my understanding that any such complaint would be filed in

I0    Germany.

II            13.    On January 8, 2014, Plaintiffs' attorneys in the United States, Corr Cronin

12    Michelson Baumgardner & Preece LLP ("Corr Cronin"), sent me a letter enclosing a copy of

13    the Complaint in English and German, and a request for waiver of the service of summons. The

14    letter referenced my July 16, 2013, letter to Ms. Garisch, which was sent to the German law

15    firm Stenger LLP, not to Corr Cronin. Attached as Exhibit 6 is a true and correct copy of the

16    letter from Seann Colgan ofCorr Cronin to me, dated January 8, 2014 (without appendices).

17            14.    On January 21,2014, I responded to Mr. Colgan's letter explaining that I was

18    only authorized to accept service of a German lawsuit. I informed Mr. Colgan that I would

19    forward the Complaint to Laverana so that Laverana could consider Plaintiffs' request for

20    waiver of service. A true and correct copy of my letter to Mr. Colgan, dated January 21,2014,

21    and an English translation of the letter, are attached hereto as Exhibits 7 and 8, respectively.

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      15.     On March 26, 2014, LSC officer Carrie Rice and Ms. Jacob sent a letter in German in

 2    response to Laverana's March 27,2013 termination letter stating that, conditional upon the

 3    termination being acknowledged by court, LSC raises an agent compensation claim

 4    (Handelsvertreterausgleichsanspruch) regarding the Distribution Agreement. This is a claim

 5    that may exist under German law in cases where certain types of distribution agreements are

 6    validly terminated, unless in particular such termination was for good cause (aus wichtigem

 7    Grund) negligently caused by the agent. A true and correct copy of the March 26, 2014letter

 8    from LSC to Laverana, and an English translation, are attached as Exhibits 9 and 10,

 9    respectively.

10            c.      Germany Is An Adequate Alternative Forum For This Litigation

II            16.     Laverana is a German limited partnership with its principal place of business in

12    Germany, with its registered seat in Wennigsen, Germany. As a German limited partnership,

13    Laverana is subject to service of process in Germany and to the jurisdiction of the judiciary of

14    Germany.

15            17.     Plaintiffs' alleged claims pursuant to the Complaint are not time barred in

16    Germany. Under Section 195 of the German Civil Code (Civil Code (Biirgerliches Gesetzbuch)

17    ("BGB"), the standard limitation period to bring a contract claim in Germany is three years.

18    Under Section 199 BGB, the limitation period commences at the end of the year in which the

19    claim arose and in which the potential plaintiff obtains knowledge of the circumstances giving

20    rise to the claim (or has not obtained such knowledge gross negligently). Accordingly, the

21    statute of limitations will not bar Plaintiffs' ability to file suit in Germany before the end of

22    2016 for the purportedly wrongful termination of the Distribution Agreements. In addition,

23    according to Section 203 BGB the limitation period is suspended during the course of

24    negotiations. A true and correct copy of Sections 195, 199 and 203 of the BGB, and an English

25    translation of those provisions, are attached hereto as Exhibits II and 12, respectively.

26            18.     In the Complaint, Plaintiffs allege causes of action for (I) breach of contract,

27    (2) breach of covenants of good faith and fair dealing, (3) breach of fiduciary duty, (4) breach of
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      warranty, and (5) declaratory relief. All of Plaintiffs' causes of action are based on the

 2    Distribution Agreements. The Distribution Agreements expressly provide that they are

 3    governed by German law, stating in the English translation: "German law shall be applicable

 4    except for the conflict of laws provisions and the provisions of the Private International Law."

 5            19.    Subject to the underlying merits of Plaintiffs' case, German law provides a

 6    remedy for claims brought on contractual grounds, including for wrongful termination of a

 7    contract and breach of contract. For example, Section 280 of the BGB provides for damages for

 8    breach of contractual duty. Additionally, Section 242 of the BGB provides a general

 9    requirement to perform contractual duties in good faith. A true and correct copy of Sections

10    280 and 242 of the BGB, and an English translation of those provisions, are attached hereto as

II    Exhibits 13 and 14, respectively.

12           20.     German law permits plaintiffs to obtain money damages, declaratory or

13    injunctive relief, and any other relief applied for and which a court may deem appropriate in

14    accordance with the applicable laws. !fa contract is wrongfully terminated, the contractual

15    agreement remains valid and binding. In addition, an attempted wrongful termination may

16    constitute a breach of contractual duty and, as a result, the wronged party may be allowed to

17    recover damages under Section 280 BGB.

18           21.     Germany has a well-established legal system based on civil law. Germany's

19    laws are generally codified rather than based on judicial precedents. German civil courts follow

20    the 1949 Basic Law for the Federal Republic of Germany (the German Constitution)

21    (Grundgesetz) ("GG"), the German Courts Constitution Act (Gerichtsverfassungsgesetz)

22    ("GVG"), and the German Code of Civil Procedure (Zivilprozessordung) ("ZPO"), as well as

23    other applicable German procedural law.

24           22.     The German Constitution guarantees to both domestic and foreign litigants the

25    independence of the judiciary (Article 97 GG, Section I GVG), the right of all parties to be

26   heard (Article I 03 GG), and the right to equal treatment under the law (Article 3 GG). This

27    includes the right to an independent, impartial, and fair decision in accordance with the law, and
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 I    the right to a fair trial. German courts are obliged to and do generally provide written opinions

 2    explaining the legal and factual bases for their decisions with reference to the governing

 3    provisions of the Gennan civil law (Section 313 ZPO). A true and correct copy of Articles 97,

 4    I 03, and 3 of the GG, and an English translation of those provisions, are included in Exhibits 15

 5    and 16, respectively, which are attached hereto. A true and correct copy of Section I ofthe

 6    GVG, and an English translation of that provision, are included in Exhibits 17 and !8,

 7    respectively, which are attached hereto. A true and correct copy of Section 313 of the ZPO, and

 8    an English translation of that provision, are attached hereto as Exhibits 19 and 20, respectively.

 9            23.     German courts are available at the local, regional, appellate, and federal levels

I0    (Section 12 GVG). The jurisdiction of a court is determined on the basis of subject matter,

!!    residence or the registered seat of the parties, and the amount in dispute. If Plaintiffs were to

12    bring a contractual claim in Germany alleging damages of€5,000 or higher (which is equivalent

13    to approximately $6900), the Regional Court (Landgericht) in Hanover, Germany, would have

14    jurisdiction pursuant to Sections 13, 23(!), 71(!) GVG and Section 17 ZPO. Under these

15    provisions, the Regional Court of the district in which a juridical person is registered has

16    general jurisdiction for all lawsuits brought against a juridical person in civil matters with a

17    value in dispute in excess of€5,000. Laverana is registered in Wennigsen, Germany which is in

18    the district of the Regional Court Hanover. A true and correct copy of Sections 12, !3, 23(!),

19    and 71(!) of the GVG, and an English translation of these provisions, are attached hereto as

20    Exhibits 21 and 22, respectively. A true and correct copy of Section 17 of the ZPO, and an

21    English translation of that provision, are attached hereto as Exhibits 23 and 24, respectively.

22           24.     Moreover, Plaintiff and Laverana have agreed in the Distribution Agreements in

23    accordance with Section 38 ZPO that (in the English translation) "[t]he place ofjurisdictimi

24    shall be Hanover, Germany." Under this provision, merchants and corporations may agree on

25    the jurisdiction of a court, even if it would otherwise not have jurisdiction.

26           25.     German law provides extensive procedural safeguards with developed laws and

27    rules of civil procedure, evidence, and due process. The Germany legal system shifts in certain
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      circumstances the burden of demonstration onto the party who has access to relevant

 2    information, potentially reducing the burden on plaintiffs (so-called secondary burden of

 3    demonstration (sekundtire Darlegungslast)). German courts have the authority to order

 4    disclosure of evidence in the possession of the other party or a third party (Sections !42, 422

 5    ZPO). A true and correct copy of Sections !42 and 422 of the ZPO, and an English translation

 6    for those provisions, are attached hereto as Exhibits 25 and 26, respectively.

 7            26.     German courts regularly and efficiently adjudicate disputes regarding German

 8    contracts governed under German law. German courts are not congested with matters that

 9    would unduly delay a resolution of this dispute. In the appellate district for the Regional Court

I0    Hanover, i.e. the district of the Higher Regional Court in Celie, there were approximately

!!    !!,000 pending cases at the beginning of20!2, approximately !4,000 new cases, and

!2    approximately !4,500 cases terminated (completed) (see German Federal Statistical Office,

!3    20!2 annual statistic of civil courts (Statistik der Zivilgerichte) p. 40). A true and correct copy

!4    of the relevant part of the relevant page of the German Federal Statistical Office, 20!2 annual

!5    statistic of civil courts (Statistik der Zivilgerichte ), and an English translation of the parts

!6    relevant here and for the Higher Regional Court in Celie, are attached hereto as Exhibits 27 and

!7    28, respectively.

!8            27.     Although the time to resolve a lawsuit varies based on the nature and complexity

!9    of the claims, I am informed and believe that the time from initiation of a lawsuit before a

20    Regional Court until a judgment is rendered by the Regional Court averaged 8.9 months in 20!2

2!    for the Regional Courts in the appellate district of the Higher Regional Court

22    ( Oberlandesgericht) Celie, which includes the Regional Court Hanover (see German Federal

23    Statistical Office, 20 !2 annual statistic of civil courts (Statistik der Zivilgerichte) p. 52). A true

24    and correct copy of the relevant part of the relevant pages of the German Federal Statistical

25    Office, 20 !2 annual statistic of civil courts (Statistik der Zivilgerichte), and an English

26    translation of the parts relevant here and for the Higher Regional Court in Celie, are attached

27    hereto as Exhibits 29 and 30, respectively.
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              D.     Germany Is Better Suited To Handle Discovery Regarding The Claims

 2            28.    All Laverana-affiliated witnesses and all ofLaverana's documents are located in

 3    Germany. I am informed and believe that Laverana does not have any employees or officers in

 4    the United States, and Laverana does not maintain any documents or records in the United

 5    States. The only persons referenced in the Complaint that reside in the United States are

 6    Plaintiffs.

 7            29.    Discovery of documents and testimony from German-resident companies and

 8    individuals is likely necessary to adjudicate the issues raised on the Complaint, including

 9    testimony from non-parties located in Germany over whom Laverana has no control. For

I0    example, I am informed and believe that non-party Karen Rinne was the Laverana employee

II    who handled the relationship between Laverana and Plaintiff for a certain period and she is

12    likely to be an important witness regarding Plaintiffs' claims. Ms. Rinne, however, does not

13    work for Laverana any longer, although she still lives in Germany.

14            30.    If this matter were to proceed in the United States, Germany would not permit

15    discovery of documents from non-party German residents. Germany has made use of the

16    exception provided for in Article 23 of the Hague Convention on the Taking of Evidence

17    Abroad ("Hague Convention") and objected to the fullest extent possible to assisting common

18    law courts, including the United States courts, in any request for pre-trial discovery. Pursuant to

19    Section 14( I) of the German law on the implementation of the Hague Convention on the Taking

20    of Evidence Abroad "letters rogatory regarding proceedings under Article 23 of the [Hague]

21    Convention will not be handled." A true and correct copy of Section 14(1) of the German law

22    on the implementation of the Hague Convention on the Taking of Evidence Abroad, and an

23    English translation, are attached hereto as Exhibits 31 and 32, respectively.

24            31.    In contrast, German law permits German courts to order production of

25    documents from parties and non-parties in German proceedings pursuant to Sections 142 and

26    422 of the ZPO. A true and correct copy of Sections 142 and 422 of the ZPO, and an English

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      translation of those provisions are attached (see above Exhibits 25 and 26 attached hereto,

 2    respectively).

 3            32.      German witnesses could not be compelled to testifY at trial in the United States.

 4    While it may be possible to obtaining deposition testimony from witnesses located in Germany,

 5    doing so would be extremely burdensome. Germany objected to the taking of evidence through

 6    diplomatic or consular personnel pursuant to Article 16 of the Hague Convention and agreed

 7    with the United States by separate exchange of Note Verbales to allow the taking of evidence by

 8    United States diplomatic or consular officers in relation to German nationals in Germany only

 9    on a voluntary basis. To obtain pre-trial testimony in a proceeding in the United States, a party

I0    may otherwise proceed under Article 17 of the Hague Convention, which requires that the

II    request for testimony in front of any other appointed agent be approved by the appropriate

12    German Central Authority. If the Central Authority allowed the request, it may issue

13    restrictions regarding the time and place of the evidence taking and other practical issues, as it

14    deems fit. In addition, the Local Court (Amtsgericht) in which district the testimony is to be

15    taken has a right to supervise the preparation of the examination as well as the actual

16    examination (Section 12 of the German Act on the implementation of the Hague Convention),

17    and the examination may also be attended by a representative of the Central Authority. The

18    examination would take place in front of a properly authorized agent of the Unites States court.

19    A true and correct copy of Section 12 of the German Act on the implementation of the Hague

20    Convention, and an English translation, are attached hereto as Exhibits 33 and 34, respectively.

21           33.       In contrast, if this litigation takes place in Germany, a party could compel the

22    presence of a witness to testifY at a trial in Germany by simply naming the witness as evidence

23    for their factual allegations in their written submissions. German courts would then summon

24    any witness that resides within Germany, including for example, former employees or agents of

25    Laverana, to appear and testifY in court. Pursuant to Section 380 ZPO German courts have the

26    power to sanction a witness who refuses to appear in court with monetary fines and

27    imprisonment and may instruct the Sheriffs office (Gerichtsvollzieher) to arrest a witness in
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      order to force their appearance in court. Witnesses are also under an obligation to testifY and to

 2    testifY under oath and may be sanctioned the same way and imprisoned until they testify, if they

 3    refuse to do so (Section 390 ZPO). A true and correct copy of Sections 380 and 390 of the

 4    ZPO, and an English translation of those provisions, are attached hereto as Exhibits 35 and 36,

 5    respectively.

 6           34.      Laverana's costs of litigating the matter in the United States will be substantially

 7    greater than if the litigation was in Germany, where Laverana and its principals reside and do

 8    business.

 9           E.       A Judgment in This Action May Not Be Enforceable In Germany

10           35.      I am informed and believe that Laverana has no assets, bank account, or property

II    in the United States in which any monetary judgment obtained in the United States could be

12    enforced.

13           36.      Although Germany has bilateral treaties with many other countries that allow for

14    streamlined recognition of judgments in Germany, no such agreement exists between Germany

15    and the United States. As a result, a judgment collected in the United States is not directly

16    enforceable in Germany.

17           37.      To be enforceable, the foreign judgment must first be "recognized" in Germany

18    pursuant to Sections 722 and 723 ZPO in a separate judgment of a German court. Such

19   judgment may only be issued after the foreign judgment is binding and final and cannot be

20    appealed anymore abroad. In addition, the German court will verifY that none of the conditions

21    set out in Section 328 ZPO exists, which prevent recognizing the judgment in Germany. The

22    recognition of a foreign judgment is inter alia prohibited by Section 328(1) no. I ZPO, if US

23    courts do not have jurisdiction under German law or by Section 328(1) no. 5 ZPO if a German

24   judgment would not be equally enforceable in the United States according to the principle of

25    reciprocity. A true and correct copy of Sections 722, 723 and 328 of the ZPO, and an English

26    translation of those provisions, are attached hereto as Exhibits 37 and 38, respectively.

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              38.    As a result, a judgment of this court may not be "recognizable" and enforceable

 2    at all in Gennany if a Gennan court later finds that this court did not have jurisdiction under

 3    German law. This may be the case here: the provision of the contract selecting Hanover,

 4    Germany may be read to exclude the jurisdiction of the United States courts. Even if the

 5    German courts could "recognize" the judgment, thus further petitioning is required in Germany

 6    to enforce the judgment or reach a German party's assets.

 7           39.     A judgment by a German court would be readily enforceable against Laverana in

 8    Germany. If Plaintiffs are able to obtain a favorable judgment against Laverana, enforcement of

 9    the German judgment is a relatively simple process. Plaintiffs would merely have to apply to

10    the court that the clerk issues a certified copy of the judgment and may then instruct the

II    Sheriffs office (Gerichtsvollzieher) serve the judgment and to seize tangible assets or the court

12    to seize monetary claims, i.e., bank accounts or claims against third parties.

13           F.      Germany Has A Demonstrated Interest In This Dispute

14           40.     I am informed and believe that the Distribution Agreements that are the subject

15    of this lawsuit were negotiated and executed in Germany and signed by German citizens. The

16    Distribution Agreements provides (in the English translation) that "German law shall be

17    applicable except for the conflict of laws provision and the provisions of the Private

18    International Law." Although the Distribution Agreements were translated into English, the

19    Distribution Agreements expressly provide that only the German-language versions are binding.

20    The Distribution Agreements further provide (in the English translation) that the "place of

21   jurisdiction shall be Hanover, Germany" for any litigation related to the Distribution

22    Agreements.

23           41.     Gennan courts, including those in Hanover, routinely decide cases based on

24    German contracts and decide issues regarding contractual formation, validity, termination,

25    damages, and other relief. German courts, including those in Hanover, utilize the German

26    language and have an expertise in German law.

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                                                                               LATHAM & WATKINS LLP
                                                        12                  505 MONTGOMERY ST. STE. 2000
     DISSARS DECLARATION
                                                                              SAN FRANCISCO,   CA 94111
     No. 2:13-cv-02311-RSM                                                         (415)391·0600
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              G.     Defendant Does Not Have Any Significant Contacts With This Forum

 2           42.     I am informed and believe that Laverana has no agent for service of process in

 3    Washington or anywhere else in the United States.

 4           43.     I am informed and believe that Laverana is not registered to do business in

 5    Washington or anywhere else in the United States, nor does it hold any license to conduct

 6    business in Washington or anywhere in the United States.

 7           44.     I am informed and believe that Laverana does not have any of the following in

 8    Washington or anywhere in the United States: (i) an office; (ii) a mailing address; (iii) a

 9    telephone number; (iv) bank accounts; (v) employees; or (vi) officers or directors.

10           45.     I am informed and believe that Laverana has never availed itself of the

II   jurisdiction of any court in Washington or anywhere else in the United States, and that Laverana

12    has never been found by any court to be subject to the jurisdiction of a Washington court or any

13    federal or state court in the United States. I am informed and believe that Laverana has not sued

14    any individual or entity in a Washington court or the federal or state courts of the United States.

15           I declare under penalty of perjury under the laws of the United States of America that

16    the foregoing is true and correct and that this declaration was executed on April 5, 2014, in

17    Hamburg, Germany.

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                                                                               LATHAM & WATKINS LLP

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            Case 2:13-cv-02311-RSM Document 15 Filed 04/08/14 Page 16 of 16



 1                                   CERTIFICATE OF SERVICE

 2          I hereby certify that on this day I electronically filed the foregoing with the Clerk of the

 3   Court using the CM/ECF system, which will send notification of such filing to the following:

 4
                                          SEANN COLGAN
 5                                       GUY MICHELSON
 6                                   CORR CRONIN MICHELSON
                                    BAUMGARDNER &PREECE LLP
 7                                     scolgan@corrcronin.com
                                      gmichelson@corrcronin.com
 8
     DATED this 8th day of April, 2014.
 9

10                                                         s/ Kathy Wheat
                                                           Kathy Wheat, Legal Assistant
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